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                                                                             DATE FILED: June 4, 2019
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 District Court    Doualas                       County, Colorado            CASE NUMBER: 2019CV39
 Court Address: 4000 Justice Way, Castle Rock, CO 80109                      TMUMWIJETa

 Plaintiffs):      Michael L. Macgowan Jr. , Pro Se
 PO Box 4061 Parker. CO 80134
 v.

 Defendant (s):    Defendant(s): Town of Castle Rock, Colorado,
 Mayor Donahue

 Attorney or Party Without Attorney (Name and Address):                  Case Number: ^ ^ £         ^


Phone Number:303.81 8.6245 Email: mmacgowa@yahoo.com
FAX Number:                            Atty. Reg, #:
                                                                               DN er
                                                COMPLAINT




      Plaintiff comes before the honorable District Court of Douglas County, Colorado to remand
      an application for a "Combolisk" back to the Town of Castle Rock, Defendant. In the
      alternative. Plaintiff seeks a judgement against said Defendant for censoring the free speech
      and loss of use of the leasehold interest in the real property as indicated in the Sworn
      Affidavit. The original application (attached), for a free standing off -premise billboard
      upon which a building permit was denied on May 2, 2019 for said Combolisk outdoor free
      speech structure. The attached letter from Defendant's representative. Zoning Manager
      Tammy King, indicates a final order was made following a public hearing denying variance
      in its entirety. Separate variances were requested for off premise use, maximum sign area
      allowed for a property of the size represented by the property in question, maximum sign
      size for the zone, and maximum height. Said order represents a final order to be judicially
      reviewed by the district court as indicated in the attached letter Board of Adjustment
      BOA1 8-0009 - 732 Jerry Street dated May 3RI). This petition for review, cover sheet, and
      court fee are filed within the 35 day limit, as set by the court, to challenge said order. The
      attachments include the final order, affidavit of process, original application and a sworn
      affidavit.
      The final order for BOA 189-0009 is based on an application for an off-premise sign. Said
      application (see attachments) did not receive constitutional considerations by the city. There
      are issues with due process, equal protection under the law, free speech, denial of assembly,
      abuse of power and lack ofjust compensation. The decision also discriminates against age
      and citizens with visual challenge.
 J.   This request for review is filed pro se and is a case which touches the fundamental rights for
      humans in establishing written free speech. The First Amendment, giving the people the
      right to speak against a rogue government and the right to bear arms are the people's defense
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     of humanity. Thus every barrier to free speech is cause for an imbalance in a democratic
     republic where the government is supposed to serve the people. Although the safety of the
     public and pursuit of life and liberty necessarily limit free speech, even the value of safety
     must be carefully considered before an authority may impose a process to limit free speech.
     In the event that a second value is proposed to limit free speech, it must be the consensus of
     the people rather than simply a law which serves a minority group. And when the value
     limiting free speech is proposed and supported by the people it must accompany a method to
     justly compensate for the loss of use to the citizens holding current and future opportunity or
      use that has been withheld. This is the fiandamental relationship between free speech and
     just compensation. Precedent has held in this direction but has been clouded by politics and
      the commercial speech of corporations in creating case law to preserve our constitutionally
     held values.
4    The outside public space and broadcast to moving people is the most important use of free
     speech given the growing population and diversification of venues that divide the attention
     and opportunity for speech. Local traffic represents the single most important opportunity to
     reach the local audience in addition to the national capabilities of multiple broadcasts among
     outdoor traffic sites and potential for assembly at high speed.
5    While there are limitless opportunities to solicit the attention of citizens in the hopes of
     presenting free speech, the nature of broadcasting to the traveling public predates not only
     the United States, but is recorded before zoning and many fallen governments. The Greek
     civilization used Obelisks to broadcast to the traveling public as the first recorded use of a
     structure independent of zoning regulations and inherent to all real property. As indicated in
     the sworn affidavit (SA), the term Combolisk is a new use which transcends old zoning
     concepts and uses the Obelisk as a base to the inherent right in the real property. The famous
     display and quote of Paul Revere is an example of an inherent right to free speech, and,
     combined with the right to bear arms, is the counter to government and link to the Obelisk in
     the formation of the United States, "One if by land; two if by sea." This outdoor public
     broadcast act was contrary to the established government and why speech must be free of
     governmental regulation when possible. We might not be a nation today, if Paul Revere and
     company were forced to obtain a permit to put lanterns in a church steeple. Similarly,
     citizens must be free to display messages on vehicles, display tarps with words over hay ,
     paint on buildings and place hay bales next to thoroughfares with tarps to preserve the right
     to broadcast. While these may be done without permit, it is the act of placing a permanent
     structure in the ground that crosses the safety value threshold and requires third party
     verification to ensure the safety of the motoring public.
6.   The Combolisk project is a two part process to establish a new self-regulated system within
     the public display space. This application represents the first phase in which a for profit
      business establishes the Combolisk use by sworn affidavit to fund the development of an
      overseeing organization to manage the outdoor display space as a permit for billboard in a
     jurisdiction that prohibits billboards. The first phase challenges Defendant with a prohibitive
      off premise ordinance. The second phase includes recording necessary building code
      compliance elements with public record keeping challenging the government's need to
      restrict speech for the value of safety.


                             14th Amendment Due Process
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7.   The application was denied due process. The original application was never denied. Plaintiff
     asked for and did not receive a final appealable order as indicated in the letters (4/24/17,
     10/3/17) and emails (10/10/18). This was in part due to an implausible requirement to
     require expensive structural engineering requirements before zoning approval (email
     11/14/18)
8.   Zoning Manager King indicated the path to a final order was by variance (email 11/14/18).
     Manager King indicated that the variance items to be requested would be based on size of
     the proposed sign, height of the proposed sign, and size of the sign based on size of the lot.
     There was no mention of the need to obtain a variance for the nature of the use as off
     premise, even though the original application (attachments) clearly states it is for an off
     premise use.
9.   Off premise use did not become an issue until staff determined it was an issue. It should
     have been listed as an element in the August 10, 2018 letter from Defendant. The application
     should have been denied with a final order that could have been reviewed in court. There
     was no indication that off premise was an issue until after the variance hearing had been
     advertised and posted on site. It is a denial of due process to make a change to the need for
     additional variance once the determination of needs of variance had already been given to
     the Plaintiff, especially in light of the delay made to accommodate a new hearing date. An
     objection was made when the issue was brought to the attention of staff in the emails and
     variance hearing section on due process but Plaintiff was forced to have a variance hearing
     in order to receive a final appealable order. The case must be remanded as a result.
 10. A variance hearing was the only way to obtain a final order. It was completely unnecessary
     and an expense forced to receive a final order. By its definition, a Combolisk is inherent to
     all real property. It would not be unique to any property as it is common to all properties.
     Since the Defendant's ordinance does not address Combolisks, the case must be remanded
     to the city for consideration to the ordinance. The city would then have to declare interests
     of the city to limit Combolisks, and provide proof of validation by the public that warrants a
     limit to free speech and just compensation where lost, as it is inherent to each property in the
     city. Failure to meet this burden would be unconstitutional.


            14th Amendment Equal Protection Under the Law

 1 1. The city has no process for censoring speech between on premise and off premise.
      Traditional methods for broadcasting outdoor speech require a physical process with paint or
     material to modify the display face of a sign structure. This was done using equipment to
     change out a face made of nonflexible materials, commonly painted and placed on the sign
     structure or posted like wallpaper into place. The digital nature of current signs has changed
     the process to where the content can be manipulated electronically off premise and in
     seconds with minimal if any cost. This dramatically changes the existing outdoor speech
     precedents as it frees up opportunity for less expensive production costs. This in turn creates
     a more reaching opportunity to hinder the nonprofit community with legislation limiting
     digital displays.
 12. The emails indicate that when this was brought to the attention of staff. Manager King
     (1 1/14/18) indicated there is no method for determining whether an applicant complies with
     the nature of the application until a complaint is made. This implies that there is no equal
     protection for citizens regarding the nature of on and/or off premise use. The case must be
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   remanded to address this issue in the code and application process. Without a permit to
   change copy or a method to monitor use, all digital signs must be equal and not subject to
   content restrictions.
13. The Defendant cannot deny an application for off premise use and then use off premise
    advertising on its own sign. In the Sworn Affidavit attachment, SA.2 indicates a picture of
   the digital sign outside Defendant's building indicating off premise advertising for social
   media corporations in violation of the off premise use prohibited by same Defendant.
   Further, the city cannot prevent other digital signs from utilizing similar use for advertising
   the incidental use of products for sale on site, political messages, even for profit messages.
    This case must be remanded back to the city.
14. Technology has created an impossible realm to manage outdoor broadcast space. A strict
    interpretation of a prohibitive ordinance, like Defendant's code, would recognize that even
   cell phones are illegal without a permit. Cell phones display advertising content paid for by
   advertisers and supported by the phone operators that have contracted space to display ads
   with people who use the phones. It is similar to a leasehold contract of a billboard. Even
   indoor, they are in violation of the ordinance. A permanent or larger display should only be
   regulated for safety unless the code is to regulate down to handheld use of citizens and be
     prepared to compensate for the loss of use.
1 5. Even if the Defendant argues that the difference between a sign and a personal electronic
   device is a permanent structure and declared use on an application, many televisions violate
   the code. While it could be argued that televisions are inside the home and are not
   permanent structures requiring a permit, technology has changed the way citizens view-
   television and computer monitors. When a mount is installed for a device, it becomes an in
   home permanent structure, no different from a commercial billboard other than in how many
   viewers will see broadcasts. In fact, there are junior panels, indoor displays, bus shelters, and
   bus benches in the billboard industry that are similar in size to a large screen televisions. The
   city cannot ignore the issues with off premise permanent structures in homes and businesses
   without equally allowing a permit for an off premise billboard that is a declared use.


                           1st Amendment Free Speech

16. Defendant has failed to adjust their municipal code following the (Metromedia v. San Diego
    198!) Supreme Court decision. Their code (SA.4) makes no provision for billboards. There
    are no "billboard" standards (SA. 5,6) in the industry that would support a sign smaller than
    40 square feet as provided for as exception in the ordinance. The first issue in public speech
    is understanding the difference between speech and commercial business identification.
    There can be no argument that most of the public will see a curved yellow M with varying
    width and identify that the business below as McDonalds. Phrases of speech are not
    identified with a single letter or even a word. A billboard is larger because it displays three
    to five words optimally rather than a single word or logo. Thus any provision for off premise
    or speech must start at a size that is at least five times greater than that of the business
    identification code. Further, the code must identify the variables associated with distance to
    the speech and speed of the motoring public. Defendant's code does not meet the minimum
      requirements for speech at the proposed location and must be remanded.
 1 7. Authorities that have applied the Metromedia precedent typically have an ordinance that
    identifies on premise use vs. off premise billboard and have different sizes and standards for
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   each. They recognize that the billboard industry has a long history of success by identifying
   three to five words with a picture as a viable way of reaching the traveling public as an
   audience for promoting the sale of goods and services not located on the property where the
   billboard is located. It is no different for the nonprofits that use billboards as a medium of
   communication. They must be afforded the opportunity to present a message to travelers
   driving the speed of traffic while being able to read the message. The minimum standard of
   speech is the standard outdoor billboard presented in the application and attested to in the
   SA.5,6. At best, any off premise signs Defendant allows are incidental like those rejected in
   Metromedia. The San Diego incidental uses were found to be unconstitutional. The forty
   square foot exception would permit most television installs if required and for less than back
    to back sheets of plywood. It must be rejected for speech.
18, The plurality opinion in Metromedia indicates that the billboards are a recognized means of
    communication. This entails that at least a minority of nonprofits currently use sizes and
    types of content that must be applied to at least industry sized standards, if not as billboards
   themselves, to post the preprinted materials that already exist on the shelves of nonprofits or
   billboard operators to be displayed at a future date. Thus the ordinance must yield to the
   outdoor standards that have already been established or at least yield to digital standards that
   will host existing nonprofit messages without modification, or the same arguments from the
   Metromedia case apply. Failure to apply the standard of Metromedia would create undue
   hardship and most assuredly be reversed in appeal in Colorado, let alone federal scrutiny. It
   is discrimination against all nonprofits to reject billboard standards when considering that
   digital scaled images can be stored on any digital device and can await broadcast to a
   display structure. Further it would be an unnecessary hindrance to speech to force nonprofits
   to modify said copy to fit a nonstandard size. Thus the application in question is the smallest
    industry supported size and standard for freeway broadcasts similar to the real property
    described in the denied application.
19, Defendant has not addressed the fundamental nature of the "Combolisk" as a new form of
    communication. Although new in definition in combines literally centuries of use and
    precedent. The Combolisk begins with a claim to an inherent right to the Greek Obelisk,
    which as Justice White points out in the Metromedia precedent, extends the question of First
    Amendment rights broader". By definition the Combolisk suggests that a permanent
    structure extends beyond zoning as speech. It also forces a new communication medium
    that preserves the pubic broadcast space for free use by nonprofits. At a minimum it defines
    that the first and every eleventh message be free to nonprofits (SA1,7). While billboard
    operators may offer free space to nonprofits at times when billboards are not sold, or sell
    broadcast space on an available basis for rate or discounted, there is no outdoor broadcast
    medium in known existence that defines a minimum for providing free space to nonprofits.
    As such, this application must be considered as new and become a new standard in legal
    history with provision for expanding as required by precedent.
20, The Combolisk establishes itself as a medium of digital nature with size and stature
    compatible with existing off premise use billboard use. Not only is the art copy able to be
    transferred from billboards to Combolisks without change by thousands of pieces of content
    already in existence, but the Combolisk allows for a path of conversion from existing
    billboards to Combolisks. Once stage 2 of the Combolisk Project has validated a process for
    monitoring the structural needs for install and record keeping of Combolisks as well as rules
    for preserving the value of the public display space, self-regulation will promote the
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   conversion of billboards to Combolisks. Operators agreeing to use restrictions based on
   population rather than zoning and minimum community broadcasts by definition will ensure
   the preservation of the public space. Said preservation is a broader picture than has ever
    been suggested.
21. As White concluded in overturning San Diego, the court must overturn Castle Rock and
   declare its' ordinance unlawful because it does not provide a method for obtaining a permit
   for a Combolisk, denied a variance for a Combolisk and discriminates against the billboard
   nonprofit artwork that would be broadcast from a Combolisk. This is especially true when
   the court considers that draping a billboard over a stack of hay bales, painting a message on
   the side of a billboard or putting a digital tv in the window of a building orientated to the
   road are uses that would be illegal under the ordinance yet are those which cannot be
   regulated.
22. Industry self-regulation is the only real answer to the commercial nature of the outdoor
   broadcast space. Government should not be in the business of regulation. The very nature of
   creating legislation to restrict commercial speech has to interfere with free speech. The only
   answer is for the government to remove its restrictions or to promote a third party solution,
   like the one proposed in the Combolisk. The industry has the option to regulate itself, but
   won't, as it is not in the interest to do so. Even the Highway Beautification Act has failed in
   its original intent. Rather than remove eye sores, grandfathered locations remain for lack of
   funding to remove them through just compensation. The industry has been given an
   oligopoly of use and prevented from converting aging old billboards to new aesthetic
    standards.
23. The application of a newer court precedent is even harder to justify regulation of the
    Combolisk. To the lay, Reed v Gilbert 2015, indicates an authority must define its value
    gained and prove the value in order to justify limiting free speech. Gilbert did not prove any
    value could or could not be gained at different times, resulting in the code requiring
    temporary signs to only be displayed at certain times. It was unreasonable to suggest that the
    value could be held during the non-allowed times and thus the case was remanded.
24. The Combolisk applies the Reed test and goes further. By itself, a permanent structure of the
    size and stature of a billboard must be allowed by Metromedia precedent. At this point the
    authority is left to censor the blank time between nonprofit broadcasts. Since the authority
    has no process in place to restrict content to businesses conducted upon the premise and has
    no hope in doing so by violating its own ordinance on its own digital sign, the denial of a
    Combolisk is unconstitutional and discriminatory. The application for a digital speech
    structure should allow at least the billboard standard for the applicable frontage to a freeway
    and allow all speech less those that would endanger the public.
25. This case is specifically designed to expand the definition of Gilbert by extending to the
    evolving digital nature of signs. There is a mechanism in place to change content
    electronically via wire or wireless through electronic means or the Internet, resulting in no
    cost associated with changing display content. Unless the government wants to get in the
    business of censoring all speech twenty-four hours per day, all days would be left with the
    overwhelming cost of doing so, in addition to the difficult task of deciding which restrictions
    are content neutral. The bigger issue is that if the value to be gained is beautification and
    not censorship/restriction of speech, there can be no argument left to force the display to be
    left blank between broadcasts, especially in light of the fact that digital signs are more
    expensive to erect and maintain. Rather than give the more valuable advertising space away
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   to nonprofits, digitial operators have a greater incentive to advertise their own availability
   rather than donate open space to nonprofit use. Thus the public use of the public space is
   reducing. The Combolisk reverses this trend and preserves the space while providing a new
    opportunity beyond those in existence.
26. The Combolisk extends the reach of free speech by partially utilizing the existing model for
    public broadcasting television and radio. While there is no inherent license in utilizing air
   waves which are government property, public space is public and the Obelisk now
   Combolisk, is inherent to real property. Commercial paid broadcasts are an integral part of
   the algorithm for the Combolisk, which requires substantial money to erect and maintain a
   digital display structure as well as pay a handsome fee for property placement and leasehold
    interest along interstates and thoroughfares.
27. Combolisk is unique. No other new term for an outdoor display can combine free use with
    the inherent right to display on real property. The SA indicates that an overseeing nonprofit
    organization will manage all future Combolisks from the profits of the first Combolisk;
    consequenlly, there can be no other combining of uses that will create a proliferation of
    outdoor broadcast terms. Combolisk is, however, a unique combination of terms promoting
    an inherent right to real property and required nonprofit minimum use. It therefore becomes
    discrimination against all nonprofits for each and every Combolisk that is rejected by zoning
    ordinance.
28. The Combolisk Project is designed to specifically address the value an authority can hold
    and use to restrict free speech. It challenges those definitions in the hope to return to a most
    clear standard of free speech like that used in Paul Revere' s ride. The problem has been that
    authorities have really confused the issue with the regulation of commercial speech. Now a
    decision into free speech must go forward in the digital realm by recognizing the inherent
    right to land with a permanent structure that is paid for with commercial broadcasts to stand
    ready against government if necessary. Simply put, the transportation departments of
    counties, states with federal government as a whole, operate a "system" of digital speech
    and highway logos along the interstate. The people have a right to counter this system with a
    system like that proposed in the Combolisk Project. In a democratic republic where the
    government serves the people, an alternative network digital display system operated outside
    the government must be allowed to counter. It is in interest and preservation of the value of
    the system that it be managed to the benefit of said value, with the premise that it serves the
    people as its base and is ready in a coordinated effort to be used against the government if
    necessary as is the right to form militias with guns. Both are necessary components of a free
    society. This case must be remanded to allow for the Combolisk Project.

                        1st Amendment Right to Assembly

29. Defendant has denied the right to assembly. By limiting their code to forty square feet for
    any sign, they have effectively denied assembly for speech.
30. A forty square foot display area might be acceptable for a single business identified on a
    surface street. Realize that this size is about the same size as a standard television in a home
    which is meant for a small gathering of people in a room viewing moving images on a
    screen. Simple math would take the measurement from forty square foot for one word to two
    hundred square feet for five words. Double this amount for moving from a room inside a
    home to an image that can be read across the interstate and the calculation exceeds the
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   requested amount. Double again for the image to be read while vehicles are traveling at
   speeds in excess of seventy miles per hour and one will quickly realize that the ordinance
   had no thought when passed in regard to allowing for a community of people to assemble
   and pass by locations to view words or pictures as speech at highway speeds. This results in
      right to assembly being denied. The case must be remanded as such.
3 1 . The Defendant's sign code is arbitrary. Upon multiple requests for the values and process to
      prove the values used to validate the hindrance to free speech, there was no response. The
    Reed decision and increased use of digital signs should force all authorities to reconsider
   sign ordinances. It is not enough for a minority of interests in city council, or building
   departments to suggest and vote to create code to limit free speech. Since it is so
   fundamental to the preservation of a free people, the courts must reject code that does not
   have a process that identifies and measures values to be gained by limiting speech and then
   compensates real property for loss of the inherent right to the Obelisk. The public must
    know the real costs associated with limiting speech both in monetary value cost as well as
    the limitation to speech and assembly of a system counter to the government.
32. The code speaks to safety, yet the application was to locate the projecting portion of the
    structure at a point above the use of the property to prevent damage to the motoring public.
    The code cannot speak to safety and also deny a legitimate use without accounting for
    making the use safe. Not allowing the bottom of a projection below to be above fourteen feet
    puts the public in danger of standard motoring transports at thirteen feet eight inches in
    height. If safety is the value the Defendant is trying to hold, then shouldn't a variance
    system consider exceptions for safety? The code is arbitrary and violates its premise for
    restricting free speech. It must be remanded.
33. The application was just and sufficient to place the viewable portion of the structure where it
    could be "seen" by the traveling public also negating the height variance restrictions. The
    Defendant cannot value the use of speech and then restrict it to where it is not viable as a
    use. The code is arbitrary and violates its premise for allowing speech even at the forty
    square feet exception.
34. The application was for a back to back display. The code cannot value beauty and then
    create a code that provides for the entire allowable display space to be located on one side.
    What is the value in looking at the back of a single sided structure? What value is gained by
    an applicant utilizing all the allowable display area to make a display large enough to be
    seen and read by the traveling public while leaving ugly on the backside? The application of
    the Reed precedent would thus allow an applicant to force the code changed to
    accommodate a maximum size of the display face on one side without restriction to the
    opposing side unless the people are willing and able to pay for the loss of use on the other
    side or sides given that Obelisks were four sided pillars permanently erected on real
    property. The case must be ramanded.
35. Denying the Combolisk could be the greatest hindrance to the right to assemble since the
    time the country was founded. Equalfoot is a proposed extension of the nonprofit side of the
    Combolisk Project, giving free broadcast space to applicants for government office
    positions. With a coordinated effort between local, regional and national vacancies in office,
    the Combolisk represents the single greatest opportunity for the people to elect people with
    ideas to benefit the good of the people rather than preference for minorities with money and
    power that affect election results through influence of the media. Even the system of
    allocating funds for presidential office negates and discriminates against minorities,
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   independents, and parties that do not have opportunity to reach the people until their reach is
   five percent of the voting community. A denial of the Combolisk Project discriminates
   against all the political candidates that do not win their seats to office and is thus
   unconstitutional. The Combolisk Project is an extension beyond all known media in history
   because its base in community allows for the free use of the poor to become candidates for
   national exposure. The system will accommodate a provision for local, state and federal
   considerations. Thus the case must be remanded to prevent an abuse of power in favor of
   existing authorities and illegal restrictions.


                                      Abuse of Power

36. In a democratic republic by the people for the people, intent should be to create law to
   benefit the people. The intent should be to work for the people when the intent is clearly
   demonstrated as working for the people. The Combolisk project is to modernize and
    preserve the public broadcast space for the public. The Defendant should have acted to find
    a way to help rather than hinder the project.
37. SA,9 indicates that there is no real need to restrict free speech. The uniform building code is
    sufficient for authorities to prosecute sign operators for installing and maintaining
    substandard structures. Further hindrance to free speech is for the benefit of control over the
    public space and is abuse of power without approval by a majority of the people and just
    compensation for the loss of the Obelisk inherent to all real properties.
38. Initially (SA.3) the Plaintiff presented the project to city council and raised the issue of free
    speech, stating problems with compliance with the known precedents of Metromedia and
    Gilbert. The response should have been to approve the project or offer a review of the code
   to find where it would or would not allow the project. In the least, it should have offered to
   modify the code in order to accommodate a new type of development that puts community
    first. After years of presenting the project, the Defendant has not addressed the constitutional
    issues presented. This is the beginning of tyranny and represents the loss of the most basic of
    human rights to life, liberty and the pursuit of happiness. The case must be remanded to
    resolve the abuse of power.


                                    Just Compensation

39. Restricting free speech has come at a price. Since Obelisks predate the concept of zoning,
    they must be regarded as having inherent rights in real property. Before limiting Obelisk
    use, the government must create values through investigation with the public. This must
    include the transmission to said public that preventing the inherent use will have the
    consequence of providing just compensation to real property owners and leasehold interests
    in not allowing said use.
40. SA.7 indicates the process Plaintiff, through a nonprofit, solicited the fifty states to find
    extract the value of beauty used to justify the regulation of billboards as speech and the
    threat of withholding federal highway funds to force compliance with the federal Highway
    Beautification Act. There is no data to justify beauty in all fifty states. While the
    Metromedia decision may be late to the history of Obelisk use, it demonstrates a level of
    tyranny that has blocked free speech in the interest of an individual or minority rather than
    the public. It was Lady Byrd Johnson that pushed to control billboards, not an elected
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   official. This decision began the push to restrict free speech without taking the issue to the
    public. While one could argue for controlling speech to prevent unlawful or dangerous
    activities like yelling fire in a crowded auditorium, a value such as "beauty" should be taken
   to the people. And the people must understand in their voting that removing an inherent
   right to the land has a cost associated with it. If the public deems it necessary to create
   aesthetic beauty to promote regions with no or controlled speech, then it must be willing to
    pay landowners and leasehold interests for the value of the lost opportunity. This would
    include existing uses along thoroughfares coupled with future uses along future
    thoroughfares because the value is intrinsic to the real property based on the population
    served. This is why one justice suggested in Reed that the whole Beautification Act could be
    subject challenge. This is in part why the Combolisk Project was designed.
41. The proposed self-governing Combolisk Project supports proliferation based on population
    rather than zoning. While it may have been evident in the sixties that there is a difference
    between lands and their zoning use, that same designation is dwarfed by actual use today.
    Residential property next to a six lane interstate has less value than the same dirt separated
    by a buffer zone or gated community. Often this is not addressed in zoning creating a burden
    on landowners at a short distance to thoroughfares as opposed to those with more distance.
    The landowner plagued with sound and access issues should at least have the ability to speak
    to the traveling public , if not receive an income based on the Combolisk project. At least
    some loss of value in real estate should be offset with intrinsic value of speech or a new
    discrimination is at hand. While the poor are forced to take the worst real estate, it is even
    the poorer and indigent that end up under the bridge or on the properties adjacent to the most
    traveled byways.
42. The values of beauty and safety have been used improperly to escape just compensation. If
    signs, especially digital signs, were dangerous, then they wouldn't be used by the
    government in construction zones in the right of way, There is no real issue with safety
    because billboards have a history following the Obelisk. They are a factor facing the
    traveling public and the public has adjusted. While it may theoretically seem like blight or a
    safety issue by having a billboard on every property, a self-regulated market that preserves
    the value of the public space by forcing the donation of broadcast time to nonprofits solves
    the issue. This can be accomplished in Phase 2 with an overseeing organization that records
    the data associated with the construction and maintenance of Combolisk broadcast units and
    rules to preserve the value. Once the values of safety are eliminated, the value of beauty is
    exposed for what it is. Operators, commercial interests and the public can work together to
    preserve the value of the public space and place limitations on speech rather than the
    government. The cost and operation of Combolisks is expensive. Thus if no commercial
     interests will offset those costs, it becomes difficult for all property owners to have
     Combolisks if real property owners have the right to install Combolisks but they are not
     supported by the members that are following rules to preserve the space.
 43. The value of beauty has proven to be of minimal value to the people. Beautification has
     failed in its original intent. It has created an oligopoly of billboard operators that receive
     higher revenue for substandard structures. Rather than adjust to aesthetic modern standards,
     many turn of the century A-frame structures still exist as neighboring properties are
     excluded from obtaining permits for billboard use. They exist because they are
      grandfathered as nonconforming uses. They are not removed because the people are not
     willing to foot the bill for just compensation to remove them. Thus the minority of people
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   that don't like billboards are the vocal minority group seeking to persuade authorities into
   creating restrictive codes to approve or limit Defendant in eliminating off premise
    billboards without regard to giving up their inherent right to the real properties in their
   jurisdictions. The public was never given the opportunity to vote on the beautification issue.
    The feds forced compliance or face the loss of ten percent of highway funds. Regional and
    local authorities then followed suit with more restrictive ordinances without addressing
   compensation of the loss of the Obelisk inherent use.
44. The history of abuse of speech by the federal government without validation and sufficient
   just compensation to apply a standard of beauty is the hardship for every landowner to
   justify a request for variance in order to simply restore lost opportunities. Again, the
    discrimination comes at the cost to those that are less financially able to fight the goliaths of
    oppressive governments and the oligopoly of the industry.
45. SA.8 indicates the fair market value for the Combolisk leasehold interest. If the city denies a
    permit for its use, the court should enter a judgement for the lost value to the real property.
    The value is stated in the SA and has been suggested multiple times in the record without
    even acknowledgement by Defendant. Failure to even acknowledge a claim is evidence
    itself of tyranny and how far our local governments has strayed from the basic human rights
    laid out by the founding fathers in our constitution.


                                      Discrimination

46. The aged and those with visual challenges are discriminated against by Defendant. This
    action, in and of itself is enough to remand the case back to the city. Without a provision in
    the ordinance to allow for speech versus business identification, along interstate and primary
    highways, those with difficulty reading at distance coupled with those that have naturally
    lost their ability to see at distance, are at a disadvantage and discriminated against.
47. The minimum standard for viewing speech has been argued above. The discrimination
    would extend to the need to accommodate size and height of broadcast structures to allow
    the broadcast copy to be seen. A speech sign that is larger than a business identification sign
    would require separate code to address the need to ensure a safe operating environment for
    motorists and users of the real property.
48. The use of the property under question is a car wash. The height on the application is a
    reasonable accommodation to ensure that vehicles using the car wash can drive under the
    bottom of the display face without incident and that the copy can be read from the traveling
    public. Failure to provide accommodation for the proposed dimensions would discriminate
    against users of the property and endanger the motoring public. Application of the Reed
    standard would question why it is necessary to restrict free speech to the point that the
    speech would create a safety hazard. The court should remand this case back to the
    Defendant.


                                          Conclusion

 49. Plaintiff grew up in the billboard industry (SA. 5,6,9). Plaintiff remembers visiting a
     billboard that had recycle bins underneath. Plaintiff s father always believed operators
     needed another reason to exist on the land. Plaintiff began his career folding paper and
     putting paste on paper to be posted on billboards. Some of these were preprinted and
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    shipped in bulk to operators throughout the country hoping to find an open space and a
    friendly manager to post them for free over open space. This preprinted public display space
    is being lost due to replacement by the self-promotion of available broadcast time slots in
    digital displays. The free public space is being lost due to these new technologies
    demonstrating a lack of opportunity to promote free speech. This is especially true given that
    all states have done little or nothing to validate the tenets of their code. Tyranny is the result
    of the taking of free speech without just compensation.
50. Government must recognize the inherent size, scope and nature of the Obelisk and their right
    to exist on real property embracing the Metromedia standard "billboards". A tarp with
    words over hay bales on top of a car wash are not regulated but using the same height and
    display area with electric bulbs to change copy through a request of permit for the
    community using a permanent structure is unlawful? Law must create values, test and create
    measure with the public in defining those values and compensate for loss of the right to real
    property interests when those values interfere with the inherent right in real property.
5 1 . The entire realm of properties in which to place permanent broadcast structures is being lost,
      yet there are new roads each year. An unverified value of beauty has created a firestorm of
      legislation against broadcast sites and an unnecessary application of safety to hinder free
      speech structures. No process of compensation has informed the people of what they have
      lost. The only hope for free speech is to return to the constitution, even though authorities
    like Defendant have failed to address their codes in the wake of landmark decisions like
    Metromedia and Reed. Abuse of power and lack of holding to the tenets of free people
    hinder free speech in tyranny rather than a democratic republic.
 52. The Combolisk Project can move forward with a return to the Constitution. Recognizing the
     building blocks of the Obelisk and putting community first provides the people an
     opportunity to preserve their heritage while providing a communication system that reminds
     the people of the great freedom they have.
 53. The values for the Defendant, if even stated, are arbitrary. There has been no testing or
     evaluating the code to assure that the stated values are met and that loss of opportunity is
     compensated. The process for exception does not consider the Combolisk Project and is thus
     unconstitutional.
 54. The Defendant has not considered the known applicable precedents that are relevant to this
    case. Failure to even acknowledge them in the application process is an abuse of power.
    Failure to apply them is a travesty to justice.
 55. The Plaintiff would profit if the rightful just compensation is awarded from this case. This
     would not necessarily serve the people although this case would be a precedent at least in
     Colorado to challenge similar restrictive ordinances. The only other option to prevent
     discrimination and relieve the burdens on free speech is to remand this case back to the
     Defendant until the application is approved and that the code is amended to recognize the
     Combolisk Project.


The information contained in this pleading is true, complete and concise to the best of my ability.
Sworn to this first day of June, 2019.



Signed       I                                                                              Plaintiff
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                                CERTIFCATE OF SERVICE


I certify that on June 1, 2019 a true and accurate copy of the COMPLAINT was served on the
Defendant by certified mail.
